        Case 8:24-cv-01205-ABA                  Document 44-1   Filed 02/20/25   Page 1 of 1



                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

          PLAINTIFF

 v.
                                                                 Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

          DEFENDANTS



                                                    ORDER


                   Upon consideration of Defendants’ Motion to Compel and Plaintiff’s Opposition

thereto, it is this _______ day of ________________, 2025, hereby

         ORDERED that Plaintiff is hereby compelled to answer discovery of Defendants within

ten (10) days.



                                                     ______________________________
                                                       U.S. Magistrate Judge




cc: All COR




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